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U.S. Department of Juitice PROCESS RECEIPT AND RETURN /
United States Marshals Service See "Instructions for Service of Process by (LS, Marshal" If 12: Zee
PLAl a . fo | COURT CASE NUMBER CD WET CLE SI:
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DEFENDANT — TYPE OF PROCESS |
WALSH SECURTTIES, INC. . Person . 230]

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERLY 10 SHIZE OR CONDEMN
SERVE Clerk of the City of Newark
AT ADDRESS (Sireet or RFD, Aporiment No., City, State and ZIF Cada)
920 Broad Street, Newark, NJ, 07102

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Nouba of process to be
a was we eee served with this Form 285
| Francis Ballak » Esquire Pot
Goldenberg, Mackler, Sayegh, Mintz, et al Number of articg to be
660 New Road of.
Northfield, NJ 08225 Cheek for serviee
pe op U.S.A

SPECIAL. INSTRUCTIONS OK OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (inelude B
Alf Telephone Nunchery, and Extimated Times Availalle for Service):
Fold

Bi Attorney other Originator requesting service on behalf of mm 7, AINTIFF TELEPITONE NUMBER DATE
Pook EQ. Civerenpaxt | 609/646-0222 \2-3aBR-OS7
SPACE BELOW FOR USE OF US. MARSHAL ONLY— DO NOT WRITE BELOW THIS LINE

T acknowledge receipt for the total =| Total Process j Dimtrict of Tiktrict to Sign of onzed USMS Deputy or Clerk Date

tummber of process indicated. Origin Serve -

(Sign only for USM 285 f mare | ic bi, ' Y -
than ane USME 285 is subenitted) Nowe O wo O nt : . {. j 0 b

I hereby certify aad return thal I CI have personally acrved , C] have lugal evidence of service, Wave exceuted as ahown i "Remarks", the process described
on the individoal , company, corporation, etc., at the address shown above on the on the individual , company, corporation, cle. shown at the address imacrted below.

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Addtess (complete only diffarent than showa above)

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Service Fee Total Mileage Charges) Forwarding Feo =| Total Charges =| Advance Teposita =| Amount owed to U.S. Marshai* or

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REMARKS: fale R229 X36 D Th

“fF, gt

HHRSESRO Ei 1. CLERK OF THR COURT

PRIOR EDITIONS MAY BE USED

2. USMS RECORT)

3. NOTICE OF SERVICE

4. BILLING STATEMENT"; Ty bo retumed to the U.S. Marabal with payitent, Form LSM-283
if any amouni ia oweal, Meare remit promptly payable to 3.8. Marshal. Rev, 12/1580

5. ACKNOWIEDOMENT OF RECEIPT Automated 01/00

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